Case 5:16-cv-OO413-.]SI\/|-PRL Document 158 Filed 10/11/18 Page 1 of 3 Page|D 4751
Case: 18-10094 Date Filed: 10/09/2018 Page: 1 of 1

UNITED STATES COURT OF APPEALS
For the Eleventh Circuit

` No. 18-10094

District Court Docket No.
5: l 6-cv-OO4 l 3-JSM-PRL

JOHN COTTAM,

Plaintift`- Appellant,
versus v
CITY OF WILDWOOD, et al.,

Defendants,
DOUGLAS PELTON,

City of Wildwood Police Officer,

Defendant - Appe|lee.

 

Appeal from the United States District Court for the
Midd|e District of Florida

 

JUDGMENT

lt is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

Entered: September 10, 2018

For the Court: DAVID J. SMITH, Clerk of Court
By: Jeff R. Patch

lSSUED AS MANDATE 10/09/2018

Case 5:16-cv-OO413-.]SI\/|-PRL Document 158 Filed 10/11/18 Page 2 of 3 Page|D 4752

Case: 18-10094 Date Filed: 10/09/2018 Page: 1 of 1

UNITED STATES COURT OF APPEALS

FOR THE ELEVENTH CIRCUIT
ELBERT PARR TUTTLE COURT OF APPEALS BUILDING

56 Forsyih sneec, N.w.

Allan!a, Georgia 30303
David J. Smith For rules and forms visit
Clerk of Court www gal l.u@gn§ gg!

October 09, 2018

Elizabeth Warren
U.S. District Court
207 NW 2ND S'I`
OCALA, FL 34475

Appeal Number: 18-10094-JJ
Case Style: John Cottam v. Douglas Pelton
District Court Docket No: 5:16-cv-00413-JSM-PRL

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of thejudgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,
DAV[D J. SMITH, Clerk of Court

Reply to: Lois Tunstal|
Phone #: (404) 335-6191

Enclosure(s)
MDT-l Letter Issuing Mandate

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§@'3~ 18-10094-JJ John Cottam v. Douglas Pelton ”Mandate Issued" (5: lé-cv-COMJ-JSM-PRL)ecf_he|p to: elile_appea|s l0/09/20l8 12:33 PM
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United States Court ol`Appeals l'or the Eleventh Circuit

Notice ol' Docket Activity
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Case Name: Jolm Cottam v. Doug|as Pelton
Case Number: l8-10024

Document(s): Mgment[s)

Docket Tcxt:
Mandate issued as to Appeliant .lohn Cottam.

Notice will he electronically mailed to:

Anna Engelman
Dale Alan Scott
Eliubeth Wanen, Clerk of Court

Notice sent via US Mail to:

John Cottam
802 CENTERBROOK DR
BRANDON, FL 33511

The following document(s) are associated with this transaction:

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